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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA    :
                            :                         CASE NO. 1:21-cr-00552 (DLF)
           v.               :
                            :
KENNETH JOSEPH OWEN THOMAS, :
                            :
Defendant.                  :


            GOVERNMENT’S RESPONSE TO DEFENDANT’S OBJECTIONS
                  TO GOVERNMENT’S PROPOSED EXHIBITS

       The United States of America respectfully files this Response to the Defendant’s

Objections to the Government’s Proposed Exhibits (ECF No. 113). The Defendant’s objections

are largely contrary to this Court’s prior rulings in this matter and/or are non-sensical. Therefore,

his objections should be overruled.

                                           RESPONSE

       The Court has preliminary ruled that the Government’s exhibits are authentic and relevant

to this case. Despite these rulings, the Defendant still objects to a large swath of exhibits in the

400 series, largely on relevance, hearsay, and completeness grounds. The 400 series of exhibits

are all records received pursuant to a lawful search warrant issued to Facebook for the Defendant’s

account. The Government received all the materials listed in this series as a part of the search

warrant return, including a certificate of authenticity, which is included in its Exhibit List as

Exhibit 401. Thus, these records are non-hearsay under Rule 801(d)(2)(A) of the Federal Rules of

evidence (opposing party’s statements) and Rule 803(6) of the Federal Rules of Evidence (business

records exception). In terms of completeness, the Facebook search warrant return was more than

30,000 pages in length and included hundreds of digital media files that have no relevance in this



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case; thus, the Government has excerpted relevant portions for use at trial, and those particular

posts are complete and require no additional context. 1

       Puzzlingly, the Defendant objects to all of the 500 series of exhibits on relevance and

completeness grounds, but does not object to any of the 700 series of exhibits. The 500 series of

exhibits are all podcasts, videos, and other types of posts on social media that were posted by the

Defendant himself, most of which are still publicly available on his social media channels today.

They all have indicia that they are what they purport to be, including, but not limited to: (1) they

show Defendant’s face, including in videos and images from January 6 or wearing similar glasses

to the ones he wore on that day; (2) they contain audio of his voice; (3) he self-identifies in many

of them; (4) they show his name or a version thereof, such as “Joe Thomas” or “Joseph Thomas;”

(5) they show his typical aliases/usernames for his online presence, such as “PiAnon” and

“blacklionjester;” and (6) they were received pursuant to a lawful search warrant

(Google/YouTube) or contain the same images/videos as the ones received pursuant to a search

warrant. By contrast, the 700 series, to which the Defendant no longer appears to object, includes

open-source evidence from individuals other than the Defendant. Given the 500 series of exhibits

were all posted to the internet by the Defendant himself, given they are non-hearsay pursuant to

Rule 801(d)(2)(A) of the Federal Rules of evidence (opposing party’s statements), and given they

contain highly relevant footage of Defendant’s crimes, his objections to these exhibits are non-

sensical and should be rejected.




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    The Government does note that one video file received from Facebook,
Ex. 402.1.4666304223384789.mp4, does indeed lack sound. The file received from Facebook
lacked sound; however, the very same video appears in one of the two compilation videos
Defendant posted to Rumble, which further underscores the relevance of the Rumble exhibits. See
Exs. 504, 505.
                                                2
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       Finally, the Defendant objects to a smattering of other exhibits on completeness, relevance,

and/or prejudice grounds. The 100 and 200 series exhibits contain redactions to protect either

confidential business information (Safeway) or the identities of individuals whose identity is not

relevant to this case (Safeway, HSEMA, USCP, USSS). They are highly relevant to a number of

elements of the charges against the Defendant and are not unduly prejudicial, which is the

applicable standard.

                                        CONCLUSION

       For these reasons, Defendant’s objections to the Government’s exhibit list should be

overruled.




                                             Respectfully submitted,

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